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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

MICHAEL BERK,                             §
BOP Register No. 43739-037,               §
                                          §
             Plaintiff,                   §
                                          §
V.                                        §         Civil No. 3:18-cv-2301-X
                                          §
K. WIGGINS, ET AL.,                       §
                                          §
             Defendants.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case [Doc. No. 9]. No objections were filed. The District Court

reviewed the proposed findings, conclusions, and recommendation for plain error.

Finding none, the Court ACCEPTS the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge.

       IT IS SO ORDERED this 5th day of November 2020.




                                              ____________________________________
                                              BRANTLEY STARR
                                              UNITED STATES DISTRICT JUDGE
